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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

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ANTHONY BELISLE,
                                 :
                     Plaintiff,                  Civil Action
                                 :               No. 19-00189-LM
          v.
                                 :
MARKEL CATCO INVESTMENT
MANAGEMENT LTD AND MARKEL        :
CORP.,
                                 :
                     Defendants.
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                       DEFENDANT MARKEL CORPORATION'S
                       CORPORATE DISCLOSURE STATEMENT

               Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure and Local

Rule 7.1.1, the undersigned counsel for Defendant Markel Corporation ("Markel") hereby

certifies that Markel has no parent company, and no publicly-held corporation owns 10% or

more of its stock.

Dated: April 3, 2019                              Respectfully submitted,
       Manchester, New Hampshire
                                                  /s/ Edward J. Sackman
James R. Carroll (pro hac vice forthcoming)       Edward J. Sackman (N.H. Bar ID #19586)
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                                                  Investment Management Ltd and Markel Corp
